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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

AARON’S, INC.,

     Plaintiff,

v.                                                   CIVIL ACTION NO.

MKW INVESTMENTS, INC., MKW II
INVESTMENTS, LLC, KEVIN
WELKER, and SUSAN WELKER,

     Defendants.


                                  COMPLAINT

       Aaron’s, Inc. (“Aaron’s”) files this Complaint against Defendants MKW

Investments, Inc. (“MKW I”), MKW II Investments, LLC (“MKW II”), Kevin

Welker, and Susan Welker (collectively referred to as “Defendants” or

“Franchisees”) and respectfully shows this Court the following:

                          NATURE OF THE ACTION

                                         1.

       Aaron’s is seeking a declaration of the parties’ rights as to claims

Defendants have asserted in a recent notice of disputes under a franchise

agreement. This case is related to a prior action before the Court, Aaron’s, Inc. v.

MKW Investments, Inc., et al., Civil Action No. 1:16-cv-01363-ELR (“Aaron’s I”),
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which is currently on appeal (11th Cir. No. 18-13666). In Aaron’s I, Aaron’s

sought to recover attorneys’ fees and settlement costs incurred in a lawsuit filed by

a third party arising from and relating to Defendants’ franchised businesses.

                                         2.

      While Aaron’s I was on appeal, Defendants sent Aaron’s a notice of disputes

under the franchise agreement between the parties.        Aaron’s files this action

because an actual controversy exists between the parties based the disputes raised

by Defendants, and Aaron’s is uncertain as to its rights and obligations regarding

the disputes.

                                    PARTIES

                                         3.

      Plaintiff Aaron’s is a Georgia corporation with its principal place of business

in Atlanta, Georgia.

                                         4.

      Defendant MKW I is a Nevada corporation with its principal place of

business in St. Robert, Missouri.




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                                         5.

      Defendant MKW II is a Missouri limited liability company. Defendant

Kevin Welker, a citizen of the State of Missouri, is the sole member of MKW II;

therefore, for purposes of diversity jurisdiction, MKW II is a citizen of Missouir.

                                         6.

      Defendant Kevin Welker is a resident and citizen of the State of Missouri.

                                         7.

      Defendant Susan Welker is a resident and citizen of the State of Missouri.

                         JURISDICTION AND VENUE

                                         8.

      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1332 because complete diversity of citizenship exists and the amount in

controversy exceeds $75,000, exclusive of interest and costs. The Court also has

jurisdiction to issue a declaratory judgment under 28 U.S.C. § 2201.

                                         9.

      This Court has personal jurisdiction over Defendants under Section 12.15 of

the 748 and 1025 Franchise Agreements (as defined below):

             Franchisee, Guarantor and Franchisor agree that any
             litigation shall be brought by Franchisor, Franchisee or
             Guarantor and their respective affiliates, in a state court
             of Georgia or in any federal district court located in that
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             state and to the fullest extent permitted by law . . . .
             Franchisee and Guarantor hereby consent to the
             jurisdiction of such courts and waive any defenses they
             may have that such courts lack venue with respect to
             such proceeding.

                                         10.

      Furthermore, this Court has personal jurisdiction over Defendants Kevin

Welker and Susan Welker under Section 6 of the Payment and Performance

Guarantee (as defined below):

             Any litigation . . . shall be brought in the state in which
             Franchisor’s principal place of business is located at the
             time the action is brought, or in the federal district court
             for the district where such principal place of business is
             located at the time the action is brought. Each Guarantor
             hereby consents to the jurisdiction of such courts and
             waives any defense that such court lacks jurisdiction or
             venue with respect to such proceeding.

                                         11.

      Venue is proper in this judicial district under Section 12.15 of the 748 and

1025 Franchise Agreements (as defined below) and Section 6 of the Payment and

Performance Guarantee (as defined below), because Defendants have consented to

venue in this Court.




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            FACTS COMMON TO ALL CLAIMS FOR RELIEF

                                        12.

      Aaron’s is a leader in the sales and lease ownership and specialty retailing of

furniture, consumer electronics, home appliances, and accessories. Aaron’s has

both company-owned and franchised stores.

                                        13.

      Franchisees operate two Aaron’s franchised stores in Missouri.

A.    The Franchise Agreements

                                        14.

      In August 2009, Kevin Welker and Susan Welker signed a Franchise

Agreement with Aaron’s on behalf of MKW I pertaining to Store #1025 in

Warrensburg, Missouri (the “1025 Franchise Agreement”). A true and correct

copy of the 1025 Franchise Agreement, along with all exhibits thereto, is attached

as Exhibit A.

                                        15.

      Kevin Welker and Susan Welker also signed a Payment and Performance

Guarantee with Aaron’s and agreed to be responsible for all of the payments and

performance for MKW I to Aaron’s in conjunction with the 1025 Franchise

Agreement. See Exhibit A.

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                                       16.

      On June 10, 2014, MKW I and Aaron’s transferred and assigned all of

MKW I’s interest in the Warrensburg Franchise to MKW II through a Transfer and

Assignment Agreement (the “Assignment”). Kevin Welker and Susan Welker

signed the Assignment as Guarantors. A true and correct copy of the Assignment

is attached as Exhibit B.

                                       17.

      In the Assignment, MKW II agreed to assume:

         [A]ll liabilities and obligations of [MKW I] under the
         Franchise Documents arising after the Effective Date, and
         agree[d] to fully and to faithfully observe and perform each
         and every term, covenant, obligation, agreement,
         undertaking and condition of the Franchise Documents on
         the part of [MKW I] thereunder to be observed and
         performed after the Effective Date.

                                       18.

      On or about April 13, 2007, Kevin Welker and Susan Welker signed a

Franchise Agreement with Aaron’s on behalf of MKW I pertaining to Store #748

in St. Robert, Missouri (the “748 Franchise Agreement”). A true and correct

copy of the 748 Agreement, along with all exhibits thereto, is attached as Exhibit

C.




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                                           19.

        Kevin Welker and Susan Welker also signed a Payment and Performance

Guarantee with Aaron’s in order to guarantee all of the payments and performance

for MKW I to Aaron’s in conjunction with the 748 Agreement. See Exhibit C.

B.      The Mundy Lawsuit and Defendants’ State Court Complaint

                                           20.

        On April 11, 2012, Tanya Mundy, a former employee of Franchisees at

Store #1025, filed a lawsuit against Franchisees,1 store manager Scott Hibbs, and

Aaron’s in the Circuit Court of Johnson County, Missouri captioned Mundy v.

Aaron’s, Inc., et al., Case No. 12JO-CV00568 (“Mundy Lawsuit”).

                                           21.

        In the Mundy Lawsuit, Mundy alleged that her supervisor, an employee store

manager of Franchisees, sexually harassed her repeatedly and that she was fired

when she complained about his conduct. Mundy sought to hold Aaron’s jointly

and severally liable with the Franchisees for the defendant store manager’s conduct

on various vicarious liability theories.




1
    Susan Welker was not named as a Defendant.
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                                        22.

      Shortly after the Mundy Lawsuit was filed, in the exercise of its discretion

under the 1025 Franchise Agreement, Aaron’s retained for its defense the Atlanta

law firm of Smith, Gambrell & Russell, LLP, as well as a Missouri law firm to

serve as local counsel.

                                        23.

      Both Aaron’s and Mundy moved for summary judgment in the Mundy

Lawsuit. The court denied both motions. Aaron’s ultimately resolved the Mundy

Lawsuit pursuant to a confidential settlement agreement the week before trial.

                                        24.

      Over the three-year course of the Mundy Lawsuit, Aaron’s incurred

approximately $230,000 in attorneys’ fees.

                                        25.

      After Aaron’s and Mundy settled, Aaron’s sought to recover its litigation

expenses from Defendants in accordance with the indemnification obligation in the

Franchise Agreement.

                                        26.

      Defendants refused to indemnify Aaron’s for the litigation expenses Aaron’s

incurred in defending and settling the Mundy Lawsuit.

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                                         27.

      In November 2015, Defendants filed a complaint in Fulton County, Georgia

Superior Court, asserting claims for declaratory and injunctive relief to prevent

Aaron’s from declaring Defendants in default and terminating the 1025 Franchise

Agreement based on Defendants’ non-payment. A true and correct copy of the

Fulton County complaint is attached hereto as Exhibit D.

                                         28.

      In the Fulton County complaint, Defendants alleged, among other things,

that Mr. Welker sought to acquire a Rent-A-Center location in Warrensburg,

Missouri in June 2015, in order to turn the location into an Aaron’s franchise.

Defendants claimed that Aaron’s informed Mr. Welker he would need to pay the

litigation expenses Aaron’s incurred in the Mundy Lawsuit before the acquisition

could go forward. Exhibit D, ¶¶ 54-57.

                                         29.

      The state court complaint was ultimately dismissed while the parties

engaged in mediation under the dispute resolution provision of the 1025 Franchise

Agreement.




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C.    The Aaron’s I Lawsuit

                                       30.

      On April 27, 2016, Aaron’s filed Aaron’s I against Defendants, seeking

payment for the attorneys’ fees and settlement costs that Aaron’s incurred in

Mundy.

                                       31.

      Although Defendants raised several defenses in Aaron’s I, Defendants did

not assert any counterclaims.

                                       32.

      Aaron’s moved for partial summary judgment in Aaron’s I based on the

language of the indemnification provision in the 1025 Franchise Agreement.

                                       33.

      In opposing Aaron’s motion for partial summary judgment, Defendants

relied on allegations concerning a failed Rent-A-Center transaction involving Store

#1025. Contrary to Defendants’ allegations in the dismissed Georgia state court

lawsuit, however, Defendants now claimed that Mr. Welker wanted to transfer

Store #1025 to Rent-A-Center but that Aaron’s would not allow the transfer

because of the outstanding litigation expenses owed to Aaron’s. A true and correct




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copy of Defendants’ Statement of Additional and Disputed Material Facts filed in

Aaron’s I is attached hereto as Exhibit E.

                                        34.

      On July 31, 2018, the Court denied Aaron’s partial motion for summary

judgment and granted Defendants’ motion for summary judgment.             Aaron’s

appealed the final judgment in Aaron’s I, and the case is pending before the

Eleventh Circuit. See Aaron’s Inc. v. MKW Investments, Inc., et al., Appeal No.

18-13666 (11th Cir.).

D.    Renewal of the 748 Store

                                        35.

      In Aaron’s I, Aaron’s sought a declaration that Defendants were in cross-

default under the 748 Franchise Agreement.

                                        36.

      During the pendency of Aaron’s I, which is still on appeal, the 748 Franchise

Agreement came up for renewal.

                                        37.

      Section 2.2(b) of the 748 Franchise Agreement provides that “Franchisee

may not renew the [Franchise Agreement] unless . . . (ii) no Event of Default (as




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herein defined), or event which with the giving of notice or passage of time or both

would constitute an Event of Default, exists as of the Expiration Date.”

                                        38.

      In order to preserve the status quo while Aaron’s I is pending, Aaron’s

offered to either (1) temporarily extend the existing 748 Franchise Agreement

through the conclusion of Aaron’s I, or (2) enter into a new franchise agreement

for Store #748 on the condition that Defendants agree such renewal agreement

would not prejudice or impact Aaron’s rights in Aaron’s I.

                                        39.

      Defendants continued to operate under the terms of the 748 Franchise

Agreement during Aaron’s I, thereby accepting by performance the first option

presented by Aaron’s relative to the renewal of the 748 Franchise Agreement.

                                        40.

      Aaron’s has also continued to operate under the terms of the 748 Franchise

Agreement during Aaron’s I.




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E.    Defendants’ Notice of Disputes

                                       41.

      On January 31, 2019, Defendants submitted a notice of disputes to Aaron’s

under Section 11.1 of the 1025 Franchise Agreement (the “Notice”). Defendants

raised four disputes.

                                       42.

      First, Defendants alleged in the Notice that Aaron’s unreasonably withheld

consent for Defendants to transfer Store #1025 to Rent-A-Center, Inc.

                                       43.

      Defendants were aware of Aaron’s alleged refusal to consent to a transfer to

Rent-A-Center at the time Aaron’s I was filed.

                                       44.

      Defendants relied on the failed Rent-A-Center transaction in the Fulton

County complaint Defendants filed (and later dismissed) before the filing of the

Aaron’s I lawsuit.

                                       45.

      The Fulton County complaint and Aaron’s I are based on the same

underlying facts.




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                                          46.

      Defendants also relied on the failed Rent-A-Center transaction in opposition

to Aaron’s motion for partial summary judgment.

                                          47.

      Defendants did not assert a counterclaim in Aaron’s I, based on the failed

Rent-A-Center transaction or otherwise.

                                          48.

      Aaron’s contends that any dispute based on the failed Rent-A-Center

transfer is a mandatory counterclaim that should have been brought in Aaron’s I.

However, because of Defendants’ notice of disputes, Aaron’s is uncertain as to its

rights and obligations regarding this dispute.

                                          49.

      Second, Defendants alleged in the Notice that Aaron’s materially breached

the 748 Franchise Agreement by precluding Defendants from renewing the 748

Franchise Agreement.

                                          50.

      Both parties have continued to operate under the prior 748 Franchise

Agreement throughout the pendency of Aaron’s I.




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                                        51.

      Defendants have continued to pay royalty fees for Store #748 during

Aaron’s I as they did under the 748 Franchise Agreement.

                                        52.

      In turn, Defendants have continued to receive the benefits provided under

the 748 Franchise Agreement, including, but not limited to, the operation of an

Aaron’s-branded franchise and the use of Aaron’s trademarks in connection with

such operation.

                                        53.

      Because Defendants have raised the alleged failure to renew the 748

Franchise Agreement in a notice of disputes to Aaron’s, Aaron’s is uncertain as to

its right to continue maintaining the status quo during the pendency of Aaron’s I.

                                        54.

      Third, Defendants alleged in the Notice that Aaron’s materially breached the

1025 Franchise Agreement by changing the criteria for determining store valuation

in sales agreements for the purchase of franchises.

                                        55.

      Defendants do not rely on any section of the 1025 Franchise Agreement in

support of their claim as to the proper valuation in the event Aaron’s purchased

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Store #1025 from Defendants. Instead, Defendants cited an addendum to the

Agreement of Sale that showed how Store #1025 would have been valued for

Defendants to purchase it from Aaron’s.

                                         56.

      There is nothing in the 1025 Franchise Agreement or otherwise that requires

Aaron’s to purchase Store #1025 from Defendants.

                                         57.

      Because Defendants have raised Aaron’s methodology for valuing Store

#1025 in a notice of disputes to Aaron’s, Aaron’s is uncertain as to its rights and

obligations regarding the valuation of Store #1025.

                                         58.

      Fourth, Defendants alleged in the Notice that Aaron’s materially breached

both the 748 Franchise Agreement and the 1025 Franchise Agreement by

announcing it would not enforce the “Franchisee’s Covenant Not to Compete”

provision in the Franchise Agreements.

                                         59.

      Sections 7.21(a)(ii) and (b) of the 748 Franchise Agreement and the 1025

Franchise Agreement restrict Defendants’ ability to, among other things, employ

any person who worked for Aaron’s or another franchisee within the past twelve

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months or engage in certain competing businesses within Defendants’ designated

territory within one year of termination of the franchise agreements.

                                        60.

      Defendants contend that Scott Harvey, Aaron’s Vice President of Franchise

Operations, sent an email to all franchisees stating that Aaron’s would no longer

enforce these two provisions of the franchise agreements.

                                        61.

      Because Defendants have raised Aaron’s alleged refusal to enforce the

“Franchisee’s Covenant Not to Compete” in a notice of disputes to Aaron’s,

Aaron’s is uncertain as to its obligation to enforce the “Franchisee’s Covenant Not

to Complete” going forward.

                                        62.

      Based on these disputes, Defendants contend they are entitled to over $7.5

million.

                                        63.

      All conditions precedent for bringing this lawsuit have been performed or

waived.




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                        COUNT I
        DECLARATORY JUDGMENT THAT AARON’S IS NOT
 REQUIRED TO RENEW THE 748 FRANCHISE AGREEMENT DURING
               THE PENDENCY OF AARON’S I

                                         64.

      Aaron’s realleges and reincorporates the allegations contained in the

paragraphs above verbatim as if fully set forth herein.

                                         65.

      Defendants contend that Aaron’s materially breached the 748 Franchise

Agreement by precluding Defendants from renewing the 748 Franchise

Agreement.

                                         66.

      Both parties have continued to operate under the prior 748 Franchise

Agreement during Aaron’s I.

                                         67.

      Although Aaron’s contends that Defendants have not suffered any damages

due to the alleged non-renewal of the 748 Franchise Agreement, Defendants

contend that Aaron’s is not entitled to maintain the status quo during the pendency

of Aaron’s I.




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                                         68.

      As a result, there is an actual and justiciable controversy between Aaron’s

and Defendants, and Aaron’s is uncertain as to its obligation to renew the 748

Franchise Agreement during the pendency of Aaron’s I.

                         COUNT II
 DECLARATORY JUDGMENT THAT AARON’S IS NOT REQUIRED TO
 ENGAGE IN DISPUTE RESOLUTION PROCESS WITH FRANCHISEES
  AS TO RENT-A-CENTER DISPUTE BECAUSE IT IS A MANDATORY
                COUNTERCLAIM IN AARON’S I

                                         69.

      Aaron’s realleges and reincorporates the allegations contained in the

paragraphs above verbatim as if fully set forth herein.

                                         70.

      Defendants did not assert a counterclaim regarding the Rent-A-Center

transaction in Aaron’s I.

                                         71.

      Defendants’ claim regarding the Rent-A-Center transaction arises out of the

same transaction or occurrence as the subject matter of Aaron’s claims in Aaron’s

I.




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                                       72.

      Both Aaron’s claims in Aaron’s I and Defendants’ claim that Aaron’s

unreasonably withheld consent to transfer Store #1025 arise out of duties owed

under the 1025 Franchise Agreement and are based on Aaron’s position that

Defendants are in default under the 1025 Franchise Agreement for failing to

indemnify Aaron’s for litigation expenses incurred in the Mundy Lawsuit.

                                       73.

      Although Aaron’s contends that any claim based on Aaron’s withholding

consent to transfer Store #1025 was a compulsory counterclaim that should have

been brought in Aaron’s I, Defendants have submitted a notice of disputes to

Aaron’s about the Rent-A-Center transaction.

                                       74.

      As a result, there is an actual and justiciable controversy between Aaron’s

and Defendants, and Aaron’s is uncertain as to its rights and obligations regarding

the Rent-A-Center dispute.




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                     COUNT III
 DECLARATORY JUDGMENT THAT AARON’S IS NOT REQUIRED TO
           VALUE STORE 1025 A SPECIFIC WAY

                                         75.

      Aaron’s realleges and reincorporates the allegations contained in the

paragraphs above verbatim as if fully set forth herein.

                                         76.

      Defendants contend that Aaron’s materially breached the 1025 Franchise

Agreement by changing the criteria for determining store valuation.

                                         77.

      Nothing in the 1025 Franchise Agreement or otherwise requires that Aaron’s

purchase Store #1025 or requires that Aaron’s value Store #1025 in a specific way.

                                         78.

      Although Aaron’s contends that it is not required to value Store #1025 in

any specific way, Defendants disagree and have submitted a notice of disputes to

Aaron’s.

                                         79.

      As a result, there is an actual and justiciable controversy, and Aaron’s is

uncertain as to its rights and obligations regarding the valuation of Store #1025.




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                       COUNT IV
 DECLARATORY JUDGMENT THAT AARON’S IS NOT REQUIRED TO
   ENFORCE THE FRANCHISEE’S COVENANT NOT TO COMPETE

                                         80.

      Aaron’s realleges and reincorporates the allegations contained in the

paragraphs above verbatim as if fully set forth herein.

                                         81.

      Defendants contend that Aaron’s materially breached both the 748 Franchise

Agreement and the 1025 Franchise Agreement by deciding not to enforce the

“Franchisee’s Covenant Not to Compete.”

                                         82.

      Although Aaron’s contends that it is not required to enforce the

“Franchisee’s Covenant Not to Compete,” Defendants disagree and have submitted

a notice of disputes to Aaron’s.

                                         83.

      As a result, there is an actual and justiciable controversy between Aaron’s

and Defendants, and Aaron’s is uncertain as to whether it is required to enforce the

“Franchisee’s Covenant Not to Compete.”

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court enter a declaratory judgment that:

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            (i)     Aaron’s is not required to renew the 748 Franchise

                    Agreement during the pendency of Aaron’s I;

            (ii)    Any claim based on Aaron’s withholding consent to

                    transfer Store #1025 to Rent-A-Center was a compulsory

                    counterclaim that should have been brought in Aaron’s I;

            (iii)   Aaron’s is not required to value Store #1025 in a specific

                    way;

            (iv)    Aaron’s is not required to enforce the “Franchisee’s

                    Covenant Not to Compete” in the 748 Franchise

                    Agreement and the 1025 Franchise Agreement; and

      (b)   For such other and further relief as this Court deems just and

            proper.

      Respectfully submitted, this 13th day of August, 2019.

                                          /s/ Ava J Conger
                                          John P. Jett
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